Case 2:04-cr-20505-.]PI\/| Document 19 Filed 05/27/05 Page 1 of 3 Page|D 44

   

IN THE UNITED STATES DISTRICT cOURT FFY~ED f'f`=". '-
FOR THE wESTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION

 

UNITED STATES OF AMERICA
Plaintiff,

Criminal Nof£%, ~ EOSO) Ml

)

)

)

)

)

)

)

) )

mar M… )
) (60-Day Continuance)

)

)

)

)

)

)

)

)

)

 

 

 

 

 

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures helow, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the June
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, Julv 22, 2005, with trial to take place on
the August, 2005, rotation calendar with the time excluded under
the Speedy Trial Act through August 12, 2005. Agreed in open
Court at report date this 27th day of May, 2005.

This document entered am the docket Sheet m C'ir‘.fapi‘am=z

with Fiu|e §§ and/cr 32(b) FFICrP on _,5*;_‘@_ Z~Q;)__¥W

 

` 45
Case 2'04-cr-20505-.]PI\/| Document 19 Fl|ed 05/27/05 PageZofS Page|D

SO ORDERED this 27th day of May, 2005.

  
    

  

'HIPPS MCCALLA
ED STATES DISTRIC'I` JU'DGE

 

 

 

Counsel for Defendant(s)

         
    

 

UNITED sTATE DRISTIC COURT - WESRNTE D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:04-CR-20505 Was distributed by faX, mail, or direct printing on
May 27, 2005 to the parties listed.

 

 

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

l\/lemphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

